
PER CURIAM.
Affirmed. Adams v. Williams, 407 U.S. 143, 92 S.Ct. 1921, 32 L.Ed.2d 612 (1972); Terry v. Ohio, 392 U.S. 1, 88 S.Ct. 1868, 20 L.Ed.2d 889 (1968); P.L.R. v. State, 455 So.2d 363 (Fla.1984), cert. denied, — U.S. -, 105 S.Ct. 1206, 84 L.Ed.2d 349 (1985); State v. Webb, 398 So.2d 820, 825 (Fla.1981); Brown v. State, 358 So.2d 596 (Fla.2d DCA 1978).
